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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


  ERICK MANNERS,
                                                          Case No. 06-20465
           Petitioner,
                                                          Honorable Nancy G. Edmunds
  v.

  UNITED STATES OF AMERICA,

           Respondent.
                                           /

   ORDER DENYING PETITIONER’S MOTION TO VACATE CONVICTION PURSUANT
   TO 28 U.S.C. 2255 [2784] AND MOTION FOR APPOINTMENT OF COUNSEL [2800]

       Pursuant to 28 U.S.C. § 2255(f)(3), Petitioner Erick Manners moves to vacate his

  conviction under 18 U.S.C. § 924(c) for using a firearm during a crime of violence. He also

  moves for appointment of counsel to help him present his § 2255 motion. For the reasons

  stated below, both of Petitioner’s motions are DENIED.

  I.   Background

       In January 2011, Petitioner pled guilty to a count of assault with a dangerous weapon

  in aid of racketeering ["felonious assault"], in violation of 18 U.S.C. § 1959(a)(3). (Dkt.

  1719.) He also pled guilty to using a firearm during a crime of violence, in violation of 18

  U.S.C. § 924(c). (Id.) His conviction for felonious assault served as the predicate "crime

  of violence" for his conviction under § 924(c). (Id.)

       On August 17, 2011, this Court sentenced Petitioner to eighteen months for the

  felonious assault and ten years for his conviction under § 924(c). (Dkt. 2153.) Petitioner

  did not file a notice of appeal.
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             On June 26, 2015, the Supreme Court decided Johnson v. United States, 135 S. Ct.

  2551 (2015). Less than one year later, Petitioner filed this 28 U.S.C. § 2255 motion to

  vacate his § 924(c) conviction in light of Johnson. (Dkt. 2784.) His motion is therefore

  timely under § 2255(f)(3).1

  II.        Standard

             To obtain relief under § 2255, Petitioner must show either that: (1) the sentence was

  imposed in violation of the Constitution or laws of the United States; (2) the court was

  without jurisdiction to impose such a sentence; (3) the sentence was in excess of the

  maximum authorized by law; or (4) it is otherwise subject to collateral attack. 28 U.S.C. §

  2255(a).

  III.       Analysis

             A. Motion to Vacate Conviction

             In Johnson, the Court struck down the “residual clause” of the Armed Career Criminal

  Act, 18 U.S.C. § 924(e)(2)(B)(ii). 135 S. Ct. at 2563. Here, Petitioner challenges his

  conviction under a different statute, 18 U.S.C. § 924(c). Petitioner argues that Johnson

  also invalidated the residual clause in § 924(c)(3), thereby rendering his conviction

  unconstitutional. This Court disagrees.

             In United States v. Taylor, the Sixth Circuit held that Johnson does not invalidate the

  residual clause in § 924(c)(3). 814 F.3d 340, 376-79 (6th Cir. 2016). While other Circuits


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       Respondent argues that Petitioner's motion is untimely because the Supreme Court
  has not "applied Johnson to ... 18 U.S.C. § 924(c) at all, much less made it retroactive on
  collateral review." (Dkt. 2802, at 3.) This Court disagrees. Timeliness under 28 U.S.C. §
  2255(f)(3) depends on "the right asserted," not on whether Petitioner's claim is meritorious.
  Because Petitioner asserted a right under Johnson within one year of the Supreme Court's
  holding, his motion is timely. See 28 U.S.C. § 2255(f)(3).

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  have disagreed with Taylor's reasoning (see United States v. Vivas-Ceja, 808 F.3d 719,

  722-24 (7th Cir. 2015); Dimaya v. Lynch, 803 F.3d 1110, 1114-20 (9th Cir. 2015)), Sixth

  Circuit precedent binds this Court. Accordingly, this Court holds that Johnson has no effect

  on Petitioner's conviction under § 924(c). See also Byrd v. United States, 2016 WL

  4009884, at *1-2 (E.D. Tenn. July 25, 2016) (noting that § 924(c)(3) “remains unaffected”

  by the Supreme Court’s holding in Johnson); United States v. Walker, 2016 WL 762717,

  at *3 (E.D. Ky. Feb. 26, 2016) (holding that sentence imposed for violation of § 924(c) was

  not implicated by Johnson).

       Even if Johnson did invalidate the residual clause in § 924(c)(3), Petitioner’s motion

  would fail because his predicate offense, felonious assault, qualifies as a crime of violence

  under the elements clause of § 924(c)(3)(A). See Johnson, 135 S.Ct. at 2563. Under this

  clause, a crime constitutes a "crime of violence" if it is a felony and "has an element the

  use, attempted use, or threatened use of physical force against the person or property of

  another." 18 U.S.C. § 924(c)(3)(A). Felonious assault requires "assault with a dangerous

  weapon or assault resulting in serious bodily injury." 18 U.S.C. § 1959(a)(3). It therefore

  qualifies as a "crime of violence" because it is a felony with an element involving the "use

  of, attempted use, or threatened use of physical force against another." 18 U.S.C. §

  924(c)(3)(A); see also United States v. Mosley, 339 F. App'x 568, 575 (6th Cir. 2009)

  (holding that felonious assault constitutes a crime of violence under the similarly worded

  elements clause of the Armed Career Criminal Act).

       Given the above, case law does not entitle Petitioner to relief, and this Court finds no

  other reason to vacate his conviction. Petitioner's motion to vacate his conviction is

  DENIED.

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         B. Motion for Appointment of Counsel

         Because the Court is denying Plaintiff's § 2255 motion, his motion for appointment

  of counsel is moot and therefore DENIED.

  III.   CONCLUSION

         For the above-stated reasons, Petitioner’s motions to vacate his conviction and for

  appointment of counsel are DENIED.

         SO ORDERED.

                       S/Nancy G. Edmunds
                       Nancy G. Edmunds
                       United States District Judge

  Dated: September 14, 2016

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on September 14, 2016, by electronic and/or ordinary mail.

                       S/Carol J. Bethel
                       Case Manager




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